
Per Curiam.
A careful examination of the questions presented upon this appeal fails to disclose reversible error.
The agreement of May 22, 1884, was nothing more than an ex-ecutory contract of sale, Spaulding agreeing, upon Koch’s payment as provided for, to convey to the latter, upon construction, either of two certain houses and lots somewhat encumbered. The fact that Koch had an option to receive one-half the sum received for the houses and lots upon a sale, if the parties determined to .sell (for the sale was only to be at a price satisfactory to both parties) in no way affected the nature of the contract. The stated intent to divide profits did not refer to a division of profits as such; it is qualified by that which precedes it as to a division of the sum received on a sale.
The contract in no way affected the relations of the parties as to third persons.
The judgment should be affirmed.
Truax and Dugro, JJ., concur.
